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 (212) 373-3289

 (212) 492-0289

 asoloway@paulweiss.com



MEMO ENDORSED
            October 21, 2020
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            By ECF

            Hon. Valerie E. Caproni
            United States District Judge
            United States Courthouse
            40 Foley Square
            New York, New York 10007

                                       Berdeaux v. OneCoin Ltd., et al.,
                                       No. 19-cv-4074-VEC (S.D.N.Y.)

            Dear Judge Caproni:

                          We represent Defendant The Bank of New York Mellon Corporation
            (“BNYM”) in this matter and write respectfully to request an extension of time for
            BNYM to respond to the Second Amended Class Action Complaint (the “SAC”). This is
            BNYM’s first request for an extension of time.

                          Although this lawsuit was first filed in 2019, and other parties have
            previously engaged in motion practice, BNYM was first added as a defendant in the
            SAC, which was filed on September 24, 2020. BNYM was served with the SAC on
            October 7, 2020, and Paul, Weiss was just retained as counsel two days ago. Under
            Federal Rule of Civil Procedure 12, BNYM’s current deadline to answer, move to
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     Hon. Valerie E. Caproni                                                                  2


     dismiss, or otherwise respond to the SAC is October 28, 2020. We understand that, prior
     to service upon newly-added defendant BNYM, the Court ordered defendants to answer,
     move to dismiss, or otherwise respond to the SAC by October 26, 2020, and that this
     schedule remains effective for the other defendants. (See September 28, 2020 Order,
     ECF No. 126.)

                     We respectfully submit that an extension of time for BNYM to respond to
     the SAC is necessary to provide sufficient time for BNYM and its counsel to review and
     analyze the 65-page, 280-paragraph complaint, which asserts 11 causes of action against
     numerous defendants based on allegations spanning a putative four-year-long class
     period. While BNYM is not named in every count, plaintiffs contend that BNYM aided
     and abetted a globe-spanning cryptocurrency fraud, which requires BNYM to review and
     analyze both the allegations supporting the underlying fraud claim as well as the
     allegations that BNYM purportedly provided substantial assistance to the purported
     fraudulent scheme.

                     BNYM respectfully requests an extension until December 21, 2020 (60
     days from today) to answer, move to dismiss, or otherwise respond to the SAC. In the
     event that BNYM moves to dismiss the SAC, as we anticipate, BNYM proposes that
     plaintiffs’ opposition brief be due on February 4, 2021 (45 days later) and that BNYM’s
     reply brief be due on March 8, 2021 (30 days later). We have conferred with counsel for
     Plaintiffs, who advise that they do not oppose this proposal, if it meets with the Court’s
     approval.

                    We appreciate Your Honor’s consideration of this request.

                                            Respectfully submitted,

                                            /s/ Audra J. Soloway

                                            Audra J. Soloway



Application GRANTED. Defendant BNYM's time to respond to
the Second Amended Complaint is extended to December 21,
2020. No further extensions will be granted. To the extent
Defendant BNYM moves to dismiss the SAC, Plaintiffs' response
shall be due not later than February 4, 2021, and Defendant
BNYM's reply shall be due not later than March 8, 2021.

SO ORDERED.


                             10/22/2020
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
